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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WILMINGTON TRUST, NATIONAL              :
ASSOCIATION, AS TRUSTEE FOR THE         :
BENEFIT OF THE REGISTERED HOLDERS OF :
BANK OF AMERICA MERRILL LYNCH TRUST :
2017-BNK3, COMMERCIAL MORTGAGE PASS- :                     CIVIL ACTION
THROUGH CERTIFICATES, SERIES 2017-BNK3, :
                                        :
                                                           NO. 2:20-CV-05312-CMR
                                        :
                      Plaintiff,        :
      v.                                :
SHREE SAI SIDDHI KING OF PRUSSIA, LLC   :
                                        :
                      Defendant.        :

         THIRD STIPULATION EXTENDING TIME FOR DEFENDANT
 SHREE SAI SIDDHI KING OF PRUSSIA, LLC TO RESPOND TO COMPLAINT AND
         PLAINTIFF’S MOTION FOR APPOINTMENT OF RECEIVER

        Plaintiff Wilmington Trust, National Association, as Trustee for the Benefit of the
Registered Holders of Bank of America Merrill Lynch Commercial Mortgage Trust 2017-BNK3,
Commercial Mortgage Pass-Through Certificates, Series 2017-BNK3 ("Plaintiff") and defendant
Shree Sai Siddhi King of Prussia, LLC ("Defendant") hereby stipulate and agree that the time for
Defendant to respond to Plaintiff’s Complaint and Plaintiff’s Motion for Appointment of Receiver
shall be extended up to and including Friday, February 5, 2021.
Dated: January 15, 2021

 BALLARD SPAHR LLP                               KLEHR HARRISON
                                                 HARVEY BRANZBURG LLP

 /s/ Raymond A. Quaglia                          /s/ Robert P. Johns III
 Raymond A. Quaglia (PA ID No. 63146)            Francis M. Correll Jr. (PA ID No. 51076)
 Rachel H. Broder (PA ID No. 322742)             Robert P. Johns III (PA ID No. 209289)
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 Attorneys for Plaintiff                         Attorneys for Defendant


                                                    SO ORDERED:

                                                    ____________________________________
                                                                            , U.S.D.J.
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